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                                                                     Official Form 22C (Chapter 13) (04/07)                                         According to the calculations required by this statement:

                                                                     In re: Cotton, Cynthia D
                                                                                                                                                      üThe applicable commitment period is 3 years.
                                                                                                         Debtor(s)
                                                                                                                                                         The applicable commitment period is 5 years.
                                                                     Case Number:                                                                        Disposable income is determined under § 1325(b)(3).
                                                                                                         (If known)
                                                                                                                                                      ü  Disposable income is not determined under § 1325(b)(3).
                                                                                                                                                    (Check the box as directed in Lines 17 and 23 of this statement.)


                                                                                            CHAPTER 13 STATEMENT OF CURRENT MONTHLY INCOME
                                                                                      AND CALCULATION OF COMMITMENT PERIOD AND DISPOSABLE INCOME
                                                                     In addition to Schedules I and J, this statement must be completed by every individual Chapter 13 debtor, whether or not filing jointly. Joint debtors may
                                                                     complete one statement only.


                                                                                                                             Part I. REPORT OF INCOME
                                                                              Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
                                                                              a.   ü Unmarried. Complete only Column A ("Debtor’s Income") for Lines 2-10.
                                                                              b.      Married. Complete both Column A ("Debtor’s Income") and Column B ("Spouse’s Income") for Lines 2-10.
                                                                        1
                                                                              All figures must reflect average monthly income received from all sources, derived during the six                    Column A         Column B
                                                                              calendar months prior to filing the bankruptcy case, ending on the last day of the month before the filing.          Debtor’s         Spouse’s
                                                                              If the amount of monthly income varied during the six months, you must divide the six-month total by six,            Income            Income
                                                                              and enter the result on the appropriate line.
                                                                        2     Gross wages, salary, tips, bonuses, overtime, commissions.                                                      $         70.00 $
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                                                                              Income from the operation of a business, profession, or farm. Subtract Line b from Line a and enter
                                                                              the difference in the appropriate column(s) of Line 3. Do not enter a number less than zero. Do not
                                                                              include any part of the business expenses entered on Line b as a deduction if Part IV.
                                                                        3       a.     Gross receipts                                           $
                                                                                b.     Ordinary and necessary operating expenses                $
                                                                                c.     Business income                                          Subtract Line b from Line a
                                                                                                                                                                                              $                 $
                                                                              Rent and other real property income. Subtract Line b from Line a and enter the difference in the
                                                                              appropriate column(s) of Line 4. Do not enter a number less than zero. Do not include any part of the
                                                                              operating expenses entered on Line b as a deduction in Part IV.
                                                                        4       a.     Gross receipts                                           $
                                                                                b.     Ordinary and necessary operating expenses                $
                                                                                c.     Rent and other real property income                      Subtract Line b from Line a
                                                                                                                                                                                              $                 $
                                                                        5     Interest, dividends, and royalties.                                                                             $                 $
                                                                        6     Pension and retirement income.                                                                                  $                 $
                                                                              Any amounts paid by another person or entity, on a regular basis, for the household expenses of
                                                                        7     the debtor or the debtor’s dependents, including child or spousal support. Do not include amounts
                                                                              paid by the debtor’s spouse.                                                                                    $                 $
                                                                              Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8. However, if
                                                                              you contend that unemployment compensation received by you or your spouse was a benefit under the
                                                                              Social Security Act, do not list the amount of such compensation in Column A or B, but instead state the
                                                                        8     amount in the space below:
                                                                                Unemployment compensation claimed to
                                                                                be a benefit under the Social Security Act    Debtor $                        Spouse $
                                                                                                                                                                                              $                 $
                                                                              Income from all other sources. If necessary, list additional sources on a separate page. Do not
                                                                              include any benefits received under the Social Security Act or payments received as a victim of a war
                                                                              crime, crime against humanity, or as a victim of international or domestic terrorism. Specify source and
                                                                              amount.
                                                                        9
                                                                                a.     Food Stamps                                                                       $        85.67
                                                                                b.     Daycare from daughter                                                             $       600.00
                                                                                Total and enter on Line 9                                                                                     $        685.67 $

                                                                       10
                                                                              Subtotal. Add Lines 2 thru 9 in Column A, and, if Column B is completed, add Lines 2 through 9 in
                                                                              Column B. Enter the total(s).                                                                                   $        755.67 $

                                                                       11
                                                                              Total. If Column B has been completed, add Line 10, Column A to Line 10, Column B, and enter the
                                                                              total. If Column B has not been completed, enter the amount from Line 10, Column A.                              $                        755.67
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                                                                                                     Part II. CALCULATION OF § 1325(b)(4) COMMITMENT PERIOD
                                                                       12    Enter the amount from Line 11.                                                                                                $      755.67
                                                                             Marital Adjustment. If you are married, but are not filing jointly with your spouse, AND if you contend that calculation of
                                                                       13    the commitment period under § 1325(b)(4) does not require inclusion of the income of your spouse, enter the amount of
                                                                             the income listed in Line 10, Column B that was NOT paid on a regular basis for the household expenses of you or your
                                                                             dependents. Otherwise, enter zero.                                                                                            $         0.00
                                                                       14    Subtract Line 13 from Line 12 and enter the result.                                                                           $      755.67

                                                                       15
                                                                             Annualized current monthly income for § 1325(b)(4). Multiply the amount from Line 14 by the number 12 and
                                                                             enter the result.                                                                                                             $    9,068.04
                                                                             Applicable median family income. Enter the median family income for the applicable state and household size.
                                                                       16    (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
                                                                             a. Enter debtor’s state of residence: Maryland                              b. Enter debtor’s household size:     1           $   51,141.00
                                                                             Application of § 1325(b)(4). Check the applicable box and proceed as directed.

                                                                       17
                                                                             ü atThetheamount    on Line 15 is less than the amount on Line 16. Check the box for “The applicable commitment period is 3 years”
                                                                                        top of page 1 of this statement and continue with this statement.
                                                                                    The amount on Line 15 is not less than the amount on Line 16. Check the box for “The applicable commitment period is 5
                                                                                    years” at the top of page 1 of this statement and continue with this statement.

                                                                                      Part III. APPLICATION OF § 1325(b)(3) FOR DETERMINING DISPOSABLE INCOME
                                                                       18    Enter the amount from Line 11.                                                                                                $      755.67
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                                                                             Marital Adjustment. If you are married, but are not filing jointly with your spouse, enter the amount of the income listed
                                                                       19    in Line 10, Column B that was NOT paid on a regular basis for the household expenses of you or your dependents. If you
                                                                             are unmarried or married and filing jointly with your spouse, enter zero.                                                     $         0.00
                                                                       20    Current monthly income for § 1325(b)(3). Subtract Line 19 from Line 18 and enter the result.                                  $      755.67

                                                                       21
                                                                             Annualized current monthly income for § 1325(b)(3). Multiply the amount from Line 20 by the number 12 and
                                                                             enter the result.                                                                                                             $    9,068.04
                                                                       22    Applicable median family income. Enter the amount from Line 16.                                                               $   51,141.00
                                                                             Application of § 1325(b)(3). Check the applicable box and proceed as directed.
                                                                                The amount on Line 21 is more than the amount on Line 22. Check the box for “Disposable income is determined under §
                                                                       23           1325(b)(3)” at the top of page 1 of this statement and complete the remaining parts of this statement.
                                                                             ü The amount on Line 21 is not more than the amount on Line 22. Check the box for “Disposable income is not determined
                                                                               under § 1325(b)(3)” at the top of page 1 of this statement and complete Part VII of this statement. Do not complete Parts IV, V, or VI.

                                                                                              Part IV. CALCULATION OF DEDUCTIONS ALLOWED UNDER § 707(b)(2)
                                                                                              Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
                                                                             National Standards: food, clothing, household supplies, personal care, and miscellaneous. Enter the
                                                                             “Total” amount from IRS National Standards for Allowable Living Expenses for the applicable family size and income level.
                                                                       24
                                                                             (This information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
                                                                                                                                                                                                           $

                                                                             Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing and
                                                                      25A    Utilities Standards; non-mortgage expenses for the applicable county and family size. (This information is available at
                                                                             www.usdoj.gov/ust/ or from the clerk of the bankruptcy court).                                                                $

                                                                             Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the
                                                                             IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size (this information is available
                                                                             at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on Line b the total of the Average Monthly
                                                                             Payments for any debts secured by your home, as stated in Line 47; subtract Line b from Line a and enter the result in
                                                                             Line 25B. Do not enter an amount less than zero.
                                                                      25B      a.     IRS Housing and Utilities Standards; mortgage/rental expense          $
                                                                                      Average Monthly Payment for any debts secured by your home,
                                                                               b.     if any, as stated in Line 47                                          $
                                                                               c.     Net mortgage/rental expense                                           Subtract Line b from Line a
                                                                                                                                                                                                           $

                                                                             Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 25A and
                                                                             25B does not accurately compute the allowance to which you are entitled under the IRS Housing and Utilities Standards,
                                                                       26    enter any additional amount to which you contend you are entitled, and state the basis for your contention in the space
                                                                             below:
                                                                                                                                                                                                           $
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                                                                             Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to an
                                                                             expense allowance in this category regardless of whether you pay the expenses of operating a vehicle and regardless of
                                                                             whether you use public transportation.
                                                                             Check the number of vehicles for which you pay the operating expenses or for which the operating expenses are included
                                                                       27    as a contribution to your household expenses in Line 7.
                                                                                 0     1      2 or more.
                                                                             Enter the amount from IRS Transportation Standards, Operating Costs & Public Transportation Costs for the applicable
                                                                             number of vehicles in the applicable Metropolitan Statistical Area or Census Region. (This information is available at
                                                                             www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                                                                   $

                                                                             Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for
                                                                             which you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than two
                                                                             vehicles.)
                                                                                 1     2 or more.
                                                                             Enter, in Line a below, the amount of the IRS Transportation Standards, Ownership Costs, First Car (available at
                                                                             www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average Monthly Payments
                                                                       28    for any debts secured by Vehicle 1, as stated in Line 47; subtract Line b from Line a and enter the result in Line 28. Do
                                                                             not enter an amount less than zero.
                                                                               a.    IRS Transportation Standards, Ownership Costs, First Car                  $
                                                                                     Average Monthly Payment for any debts secured by Vehicle 1, as
                                                                               b.    stated in Line 47                                                         $
                                                                               c.    Net ownership/lease expense for Vehicle 1                                 Subtract Line b from Line a
                                                                                                                                                                                                              $
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                                                                             Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you
                                                                             checked the “2 or more” Box in Line 23.
                                                                             Enter, in Line a below, the amount of the IRS Transportation Standards, Ownership Costs, Second Car (available at
                                                                             www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average Monthly Payments
                                                                             for any debts secured by Vehicle 2, as stated in Line 47; subtract Line b from Line a and enter the result in Line 29. Do
                                                                       29    not enter an amount less than zero.
                                                                               a.    IRS Transportation Standards, Ownership Costs, Second Car                 $
                                                                                     Average Monthly Payment for any debts secured by Vehicle 2, as
                                                                               b.    stated in Line 47                                                         $
                                                                               c.    Net ownership/lease expense for Vehicle 2                                 Subtract Line b from Line a
                                                                                                                                                                                                              $

                                                                             Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all federal,
                                                                       30    state, and local taxes, other than real estate and sales taxes, such as income taxes, self employment taxes, social
                                                                             security taxes, and Medicare taxes. Do not include real estate or sales taxes.                                                   $

                                                                             Other Necessary Expenses: mandatory payroll deductions. Enter the total average monthly payroll
                                                                       31    deductions that are required for your employment, such as mandatory retirement contributions, union dues, and uniform
                                                                             costs. Do not include discretionary amounts, such as non-mandatory 401(k) contributions.                                         $

                                                                             Other Necessary Expenses: life insurance. Enter average monthly premiums that you actually pay for term life
                                                                       32    insurance for yourself. Do not include premiums for insurance on your dependents, for whole life or for any other
                                                                             form of insurance.                                                                                                               $

                                                                             Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are required to
                                                                       33    pay pursuant to court order, such as spousal or child support payments. Do not include payments on past due support
                                                                             obligations included in Line 49.                                                                                                 $

                                                                             Other Necessary Expenses: education for employment or for a physically or mentally challenged
                                                                       34    child. Enter the total monthly amount that you actually expend for education that is a condition of employment and for
                                                                             education that is required for a physically or mentally challenged dependent child for whom no public education providing
                                                                             similar services is available.                                                                                                   $

                                                                       35
                                                                             Other Necessary Expenses: childcare. Enter the average monthly amount that you actually expend on childcare
                                                                             — such as baby-sitting, day care, nursery and preschool. Do not include other educational payments.                              $

                                                                             Other Necessary Expenses: health care. Enter the average monthly amount that you actually expend on health
                                                                       36    care expenses that are not reimbursed by insurance or paid by a health savings account. Do not include payments for
                                                                             health insurance or health savings accounts listed in Line 39.                                                                   $

                                                                             Other Necessary Expenses: telecommunication services. Enter the average monthly amount that you actually
                                                                              pay for telecommunication services other than your basic home telephone service—such as cell phones, pagers, call
                                                                       37
                                                                              waiting, caller id, special long distance, or internet service—to the extent necessary for your health and welfare or that of
                                                                              your dependents. Do not include any amount previously deducted.                                                                 $

                                                                       38    Total Expenses Allowed under IRS Standards. Enter the total of Lines 24 through 37.                                              $
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                                                                                                           Subpart B: Additional Expense Deductions under § 707(b)
                                                                                                        Note: Do not include any expenses that you have listed in Lines 24-37
                                                                             Health Insurance, Disability Insurance, and Health Savings Account Expenses. List and total the average
                                                                             monthly amounts that you actually pay for yourself, your spouse, or your dependents in each the following categories.
                                                                               a.    Health Insurance                                                       $
                                                                       39      b.    Disabilit y I nsurance                                                 $
                                                                               c.    Healt h Savings Account                                                $
                                                                                                                                                            Total: Add Lines a, b and c
                                                                                                                                                                                                               $

                                                                             Continued contributions to the care of household or family members. Enter the actual monthly expenses
                                                                       40    that you will continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled
                                                                             member of your household or member of your immediate family who is unable to pay for such expenses. Do not include
                                                                             payments listed in Line 34.                                                                                                       $

                                                                             Protection against family violence. Enter any average monthly expenses that you actually incurred to maintain the
                                                                       41     safety of your family under the Family Violence Prevention and Services Act or other applicable federal law. The nature of
                                                                              these expenses is required to be kept confidential by the court.                                                                 $

                                                                              Home energy costs. Enter the average monthly amount, in excess of the allowance specified by IRS Local Standards
                                                                       42     for Housing and Utilities, that you actually expend for home energy costs. You must provide your case trustee with
                                                                              documentation demonstrating that the additional amount claimed is reasonable and necessary.                                      $

                                                                              Education expenses for dependent children less than 18. Enter the average monthly expenses that you
                                                                       43     actually incur, not to exceed $137.50 per child, in providing elementary and secondary education for your dependent
                                                                              children less than 18 years of age. You must provide your case trustee with documentation demonstrating that the
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                                                                              amount claimed is reasonable and necessary and not already accounted for in the IRS Standards.                                   $

                                                                              Additional food and clothing expense. Enter the average monthly amount by which your food and clothing
                                                                             expenses exceed the combined allowances for food and apparel in the IRS National Standards, not to exceed five
                                                                       44    percent of those combined allowances. (This information is available at www.usdoj.gov/ust/ or from the clerk of the
                                                                             bankruptcy court.) You must provide your case trustee with documentation demonstrating that the additional
                                                                             amount claimed is reasonable and necessary.                                                                                       $

                                                                       45
                                                                             Continued charitable contributions. Enter the amount that you will continue to contribute in the form of cash or
                                                                             financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).                                       $

                                                                       46    Total Additional Expense Deductions under § 707(b). Enter the total of Lines 39 through 45                                        $

                                                                                                                       Subpart C: Deductions for Debt Payment
                                                                             Future payments on secured claims. For each of your debts that is secured by an interest in property that you
                                                                             own, list the name of the creditor, identify the property securing the debt, and state the Average Monthly Payment. The
                                                                             Average Monthly Payment is the total of all amounts contractually due to each Secured Creditor in the 60 months
                                                                             following the filing of the bankruptcy case, divided by 60. Mortgage debts should include payments of taxes and insurance
                                                                             required by the mortgage. If necessary, list additional entries on a separate page.
                                                                                                                                                                                             60-month
                                                                       47            Name of Creditor                                Property Securing the Debt                           Average Pmt
                                                                               a.                                                                                                    $
                                                                               b.                                                                                                    $
                                                                               c.                                                                                                    $
                                                                                                                                                                           Total: Add lines a, b and c.
                                                                                                                                                                                                               $

                                                                              Other payments on secured claims. If any of debts listed in Line 47 are secured by your primary residence, a
                                                                              motor vehicle, or other property necessary for your support or the support of your dependents, you may include in your
                                                                              deduction 1/60th of any amount (the “cure amount”) that you must pay the creditor in addition to the payments listed in
                                                                              Line 47, in order to maintain possession of the property. The cure amount would include any sums in default that must be
                                                                              paid in order to avoid repossession or foreclosure. List and total any such amounts in the following chart. If necessary, list
                                                                              additional entries on a separate page.
                                                                                                                                                                                          1/60th of the
                                                                       48            Name of Creditor                                Property Securing the Debt                           Cure Amount
                                                                               a.                                                                                                    $
                                                                               b.                                                                                                    $
                                                                               c.                                                                                                    $
                                                                                                                                                                           Total: Add lines a, b and c.
                                                                                                                                                                                                               $

                                                                       49
                                                                              Payments on priority claims. Enter the total amount of all priority claims (including priority child support and alimony
                                                                              claims), divided by 60.                                                                                                          $
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                                                                     Official Form 22C (Chapter 13) (04/07) - Cont.
                                                                             Chapter 13 administrative expenses. Multiply the amount in Line a by the amount in Line b, and enter the resulting
                                                                             administrative expense.
                                                                               a.      Projected average monthly Chapter 13 plan payment.                      $

                                                                       50              Current multiplier for your district as determined under schedules
                                                                                       issued by the Executive Office for United States Trustees. (This
                                                                                       information is available at www.usdoj.gov/ust/ or from the clerk of
                                                                               b.      the bankruptcy court.)                                                  X
                                                                               c.      Average monthly administrative expense of Chapter 13 case               Total: Multiply Lines a and b
                                                                                                                                                                                                                $
                                                                       51    Total Deductions for Debt Payment. Enter the total of Lines 47 through 50.                                                         $

                                                                                                              Subpart D: Total Deductions Allowed under § 707(b)(2)
                                                                       52    Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 38, 46, and 51.                                        $

                                                                                        Part V. DETERMINATION OF DISPOSABLE INCOME UNDER § 1325(b)(2)
                                                                       53    Enter current monthly income. Enter the amount from Line 20.                                                                       $

                                                                             Support Income. Enter the monthly average of any child support payments, foster care payments, or disability
                                                                       54    payments for a dependent child, included in Line 7, that you received in accordance with applicable nonbankruptcy law, to
                                                                             the extent reasonably necessary to be expended for such child.                                                                     $

                                                                             Qualified retirement deductions. Enter the monthly average of (a) all contributions or wage deductions made to
                                                                       55    qualified retirement plans, as specified in § 541(b)(7) and (b) all repayments of loans from retirement plans, as specified
                                                                             in § 362(b)(19).                                                                                                                   $
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                                                                       56    Total of all deductions allowed under § 707(b)(2). Enter the amount from Line 52.                                                  $

                                                                       57
                                                                             Total adjustments to determine disposable income. Add the amounts on Line 54, 55, and 56 and enter the
                                                                             result.                                                                                                                            $

                                                                       58    Monthly Disposable Income Under § 1325(b)(2). Subtract Line 57 from Line 53 and enter the result.                                  $

                                                                                                                   Part VI. ADDITIONAL EXPENSE CLAIMS
                                                                             Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health and welfare of
                                                                             you and your family and that you contend should be an additional deduction from your current monthly income under § 707(b)(2)(A)(ii)(I). If
                                                                             necessary, list additional sources on a separate page. All figures should reflect your average monthly expense for each item. Total the
                                                                             expenses.
                                                                                       Expense Description                                                                                             Monthly Amount
                                                                       59      a.                                                                                                                  $
                                                                               b.                                                                                                                  $
                                                                               c.                                                                                                                  $
                                                                                                                                                               Total: Add Lines a, b and c         $



                                                                                                                                 Part VII. VERIFICATION
                                                                             I declare under penalty of perjury that the information provided in this statement is true and correct. (If this a joint case, both debtors must
                                                                             sign.)


                                                                       60    Date: November 29, 2007                    Signature: /s/ Cynthia D Cotton
                                                                                                                                                                                (Debtor)


                                                                             Date:                                      Signature:
                                                                                                                                                                          (Joint Debtor, if any)
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                                                                     (Official Form 1) (04/07)
                                                                                                           United States Bankruptcy Court
                                                                                                                District of Maryland                                                                            Voluntary Petition
                                                                      Name of Debtor (if individual, enter Last, First, Middle):                                Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                      Cotton, Cynthia D
                                                                      All Other Names used by the Debtor in the last 8 years                                    All Other Names used by the Joint Debtor in the last 8 years
                                                                      (include married, maiden, and trade names):                                               (include married, maiden, and trade names):



                                                                      Last four digits of Soc. Sec. No./Complete EIN or other Tax I.D. No. (if more             Last four digits of Soc. Sec. No./Complete EIN or other Tax I.D. No. (if more
                                                                      than one, state all): 3411                                                                than one, state all):

                                                                      Street Address of Debtor (No. & Street, City, State & Zip Code):                          Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
                                                                      1128 Wilson Avenue
                                                                      Gwynn Oak, MD
                                                                                                                              ZIPCODE 21207                                                                            ZIPCODE
                                                                      County of Residence or of the Principal Place of Business:                                County of Residence or of the Principal Place of Business:
                                                                      Baltimore
                                                                      Mailing Address of Debtor (if different from street address)                              Mailing Address of Joint Debtor (if different from street address):


                                                                                                                              ZIPCODE                                                                                  ZIPCODE
                                                                      Location of Principal Assets of Business Debtor (if different from street address above):

                                                                                                                                                                                                                       ZIPCODE
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                                                                                         Type of Debtor                                       Nature of Business                             Chapter of Bankruptcy Code Under Which
                                                                                     (Form of Organization)                                    (Check one box.)                                the Petition is Filed (Check one box.)
                                                                                        (Check one box.)                            Health Care Business                                 Chapter 7                Chapter 15 Petition for
                                                                     üSee
                                                                      Individual (includes Joint Debtors)
                                                                          Exhibit D on page 2 of this form.
                                                                                                                                    Single Asset Real Estate as defined in 11
                                                                                                                                    U.S.C. § 101(51B)
                                                                                                                                                                                         Chapter 9
                                                                                                                                                                                         Chapter 11
                                                                                                                                                                                                                  Recognition of a Foreign
                                                                                                                                                                                                                  Main Proceeding
                                                                        Corporation (includes LLC and LLP)                          Railroad                                             Chapter 12               Chapter 15 Petition for
                                                                        Partnership
                                                                        Other (If debtor is not one of the above entities,
                                                                                                                                    Stockbroker
                                                                                                                                    Commodity Broker
                                                                                                                                                                                     ü   Chapter 13               Recognition of a Foreign
                                                                                                                                                                                                                  Nonmain Proceeding
                                                                        check this box and state type of entity below.)             Clearing Bank                                                           Nature of Debts
                                                                                                                                    Other                                                                   (Check one box)

                                                                                                                                               Tax-Exempt Entity
                                                                                                                                                                                     ü    Debts are primarily consumer
                                                                                                                                                                                         debts, defined in 11 U.S.C.
                                                                                                                                                                                                                            Debts are primarily
                                                                                                                                                                                                                            business debts.
                                                                                                                                            (Check box, if applicable.)                  § 101(8) as “incurred by an
                                                                                                                                    Debtor is a tax-exempt organization under            individual primarily for a
                                                                                                                                    Title 26 of the United States Code (the              personal, family, or house-
                                                                                                                                    Internal Revenue Code).                              hold purpose.”
                                                                                                 Filing Fee (Check one box)                                                               Chapter 11 Debtors:
                                                                                                                                                             Check one box:
                                                                     üFull Filing Fee attached                                                                 Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                        Filing Fee to be paid in installments (Applicable to individuals only). Must           Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                        attach signed application for the court’s consideration certifying that the debtor   Check if:
                                                                        is unable to pay fee except in installments. Rule 1006(b). See Official Form           Debtor’s aggregate noncontingent liquidated debts owed to non-insiders or
                                                                        3A.                                                                                    affiliates are less than $2,190,000.
                                                                                                                                                               -----------------------------------------------------
                                                                        Filing Fee waiver requested (Applicable to chapter 7 individuals only). Must         Check all applicable boxes:
                                                                        attach signed application for the court’s consideration. See Official Form 3B.         A plan is being filed with this petition
                                                                                                                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                                                                                                                               creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                      Statistical/Administrative Information                                                                                      THIS SPACE IS FOR COURT USE ONLY
                                                                      ü  Debtor estimates that funds will be available for distribution to unsecured creditors.
                                                                         Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be
                                                                         no funds available for distribution to unsecured creditors.
                                                                      Estimated Number of Creditors
                                                                        1-       50-     100-       200-          1,000-      5,001-      10,001-     25,001-       50,001-        Over
                                                                       49        99       199       999           5,000       10,000      25,000      50,000        100,000       100,000
                                                                        ü
                                                                      Estimated Assets
                                                                           $0 to                   $10,000 to          ü $100,000 to                $1 million                More than
                                                                           $10,000                 $100,000                  $1 million             $100 million              $100 million
                                                                      Estimated Liabilities
                                                                           $0 to                   $50,000 to          ü $100,000 to                $1 million                More than
                                                                           $50,000                 $100,000                  $1 million             $100 million              $100 million
                                                                                                       Case 07-22153                Doc 1        Filed 12/01/07               Page 7 of 36
                                                                     (Official Form 1) (04/07)                                                                                                                 FORM B1, Page 2
                                                                     Voluntary Petition                                                              Name of Debtor(s):
                                                                     (This page must be completed and filed in every case)                           Cotton, Cynthia D

                                                                                             Prior Bankruptcy Case Filed Within Last 8 Years (If more than one, attach additional sheet)
                                                                      Location                                                                       Case Number:                              Date Filed:
                                                                      Where Filed: Md-Northern                                                       03-52879                                  2/24/03
                                                                      Location                                                                       Case Number:                              Date Filed:
                                                                      Where Filed: N/A
                                                                         Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                      Name of Debtor:                                                                Case Number:                              Date Filed:
                                                                      None
                                                                      District:                                                                      Relationship:                             Judge:


                                                                                                     Exhibit A                                                                            Exhibit B
                                                                      (To be completed if debtor is required to file periodic reports (e.g., forms                   (To be completed if debtor is an individual
                                                                      10K and 10Q) with the Securities and Exchange Commission pursuant to                          whose debts are primarily consumer debts.)
                                                                      Section 13 or 15(d) of the Securities Exchange Act of 1934 and is              I, the attorney for the petitioner named in the foregoing petition, declare
                                                                      requesting relief under chapter 11.)                                           that I have informed the petitioner that [he or she] may proceed under
                                                                                                                                                     chapter 7, 11, 12, or 13 of title 11, United States Code, and have
                                                                          Exhibit A is attached and made a part of this petition.                    explained the relief available under each such chapter. I further certify
                                                                                                                                                     that I delivered to the debtor the notice required by § 342(b) of the
                                                                                                                                                     Bankruptcy Code.
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                                                                                                                                                     X   /s/ James R. Logan                                           11/29/07
                                                                                                                                                         Signature of Attorney for Debtor(s)                                 Date

                                                                                                                                             Exhibit C
                                                                      Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
                                                                      or safety?
                                                                          Yes, and Exhibit C is attached and made a part of this petition.
                                                                      ü No
                                                                                                                                             Exhibit D
                                                                      (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                                                          ü Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                      If this is a joint petition:
                                                                                Exhibit D also completed and signed by the joint debtor is attached a made a part of this petition.

                                                                                                                        Information Regarding the Debtor - Venue
                                                                                                                                     (Check any applicable box.)
                                                                          ü Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                                                              preceding the date of this petition or for a longer part of such 180 days than in any other District.
                                                                              There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.
                                                                              Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District,
                                                                              or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court]
                                                                              in this District, or the interests of the parties will be served in regard to the relief sought in this District.

                                                                                                      Statement by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                (Check all applicable boxes.)
                                                                              Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                        (Name of landlord or lessor that obtained judgment)

                                                                                                                                    (Address of landlord or lessor)
                                                                              Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                                                                              entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                                                              Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the filing
                                                                              of the petition.
                                                                                                                Case 07-22153       Doc 1        Filed 12/01/07               Page 8 of 36
                                                                     (Official Form 1) (04/07)                                                                                                                            FORM B1, Page 3
                                                                     Voluntary Petition                                                            Name of Debtor(s):
                                                                     (This page must be completed and filed in every case)                         Cotton, Cynthia D

                                                                                                                                           Signatures

                                                                                      Signature(s) of Debtor(s) (Individual/Joint)                                     Signature of a Foreign Representative
                                                                      I declare under penalty of perjury that the information provided in this     I declare under penalty of perjury that the information provided in this
                                                                      petition is true and correct.                                                petition is true and correct, that I am the foreign representative of a debtor
                                                                      [If petitioner is an individual whose debts are primarily consumer debts     in a foreign proceeding, and that I am authorized to file this petition.
                                                                      and has chosen to file under Chapter 7] I am aware that I may proceed        (Check only one box.)
                                                                      under chapter 7, 11, 12 or 13 of title 11, United State Code, understand
                                                                                                                                                        I request relief in accordance with chapter 15 of title 11, United
                                                                      the relief available under each such chapter, and choose to proceed under
                                                                                                                                                        States Code. Certified copies of the documents required by 11 U.S.C.
                                                                      chapter 7.
                                                                                                                                                        § 1515 are attached.
                                                                      [If no attorney represents me and no bankruptcy petition preparer signs
                                                                      the petition] I have obtained and read the notice required by 11 U.S.C. §         Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
                                                                      342(b).                                                                           chapter of title 11 specified in this petition. A certified copy of the
                                                                      I request relief in accordance with the chapter of title 11, United States        order granting recognition of the foreign main proceeding is attached.
                                                                      Code, specified in this petition.
                                                                                                                                                   X
                                                                      X   /s/ Cynthia D Cotton                                                          Signature of Foreign Representative
                                                                          Signature of Debtor                                 Cynthia D Cotton     X
                                                                      X                                                                                 Printed Name of Foreign Representative
                                                                          Signature of Joint Debtor

                                                                                                                                                        Date
                                                                          Telephone Number (If not represented by attorney)
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                                                                          November 29, 2007
                                                                          Date


                                                                                                      Signature of Attorney                                       Signature of Non-Attorney Petition Preparer
                                                                                                                                                   I declare under penalty of perjury that: 1) I am a bankruptcy petition
                                                                      X   /s/ James R. Logan                                                       preparer as defined in 11 U.S.C. § 110; 2) I prepared this document for
                                                                          Signature of Attorney for Debtor(s)                                      compensation and have provided the debtor with a copy of this document
                                                                          James R. Logan                                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                          Printed Name of Attorney for Debtor(s)                                   110(h) and 342(b); 3) if rules or guidelines have been promulgated
                                                                                                                                                   pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
                                                                          James R. Logan P.A.                                                      chargeable by bankruptcy petition preparers, I have given the debtor
                                                                          Firm Name
                                                                                                                                                   notice of the maximum amount before preparing any document for filing
                                                                          2539 N. Charles Street                                                   for a debtor or accepting any fee from the debtor, as required in that
                                                                          Address                                                                  section. Official Form 19B is attached.
                                                                          Baltimore, MD 21218
                                                                                                                                                   Printed Name and title, if any, of Bankruptcy Petition Preparer

                                                                          (410) 243-1508                                                           Social Security Number (If the bankruptcy petition preparer is not an individual, state the
                                                                          Telephone Number                                                         Social Security number of the officer, principal, responsible person or partner of the
                                                                                                                                                   bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                          November 29, 2007
                                                                          Date
                                                                                                                                                   Address

                                                                                    Signature of Debtor (Corporation/Partnership)
                                                                      I declare under penalty of perjury that the information provided in this
                                                                      petition is true and correct, and that I have been authorized to file this   X
                                                                      petition on behalf of the debtor.                                                 Signature of Bankruptcy Petition Preparer or officer, principal, responsible person, or
                                                                                                                                                        partner whose social security number is provided above.

                                                                      The debtor requests relief in accordance with the chapter of title 11,
                                                                      United States Code, specified in this petition.                                   Date

                                                                                                                                                   Names and Social Security numbers of all other individuals who
                                                                      X                                                                            prepared or assisted in preparing this document unless the bankruptcy
                                                                          Signature of Authorized Individual                                       petition preparer is not an individual:

                                                                          Printed Name of Authorized Individual
                                                                                                                                                   If more than one person prepared this document, attach additional
                                                                          Title of Authorized Individual                                           sheets conforming to the appropriate official form for each person.
                                                                                                                                                   A bankruptcy petition preparer’s failure to comply with the provisions
                                                                          Date                                                                     of title 11 and the Federal Rules of Bankruptcy Procedure may result
                                                                                                                                                   in fines or imprisonment or both 11 U.S.C. § 110; 18 U.S.C. § 156.
                                                                                                 Case 07-22153          Doc 1     Filed 12/01/07        Page 9 of 36
                                                                                                            UNITED STATES BANKRUPTCY COURT

                                                                                             NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b)
                                                                                                                OF THE BANKRUPTCY CODE

                                                                             In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the services available
                                                                             from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
                                                                             bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you
                                                                             that the Attorney General may examine all information you supply in connection with a bankruptcy case. You
                                                                             are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the
                                                                             advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court
                                                                             employees cannot give you legal advice.

                                                                     1. Services Available from Credit Counseling Agencies
                                                                     With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
                                                                     relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
                                                                     provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy
                                                                     filing. The briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet)
                                                                     and must be provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy
                                                                     administrator. The clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling
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                                                                     agencies.
                                                                     In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
                                                                     instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
                                                                     instructional courses.

                                                                     2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors
                                                                     Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)
                                                                     1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors
                                                                     whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case should be
                                                                     permitted to proceed under chapter 7. If your income is greater than the median income for your state of residence and family
                                                                     size, in some cases, creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the
                                                                     Code. It is up to the court to decide whether the case should be dismissed.
                                                                     2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to
                                                                     take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
                                                                     3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
                                                                     committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if
                                                                     it does, the purpose for which you filed the bankruptcy petition will be defeated.
                                                                     4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still
                                                                     be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
                                                                     settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not
                                                                     properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel,
                                                                     or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of
                                                                     fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is not
                                                                     discharged.

                                                                     Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee, $39
                                                                     administrative fee: Total fee $274)
                                                                     1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in instalments
                                                                     over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the
                                                                     Bankruptcy Code.
                                                                     2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them,
                                                                                                    Case 07-22153           Doc 1      Filed 12/01/07          Page 10 of 36
                                                                     using your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending
                                                                     upon your income and other factors. The court must approve your plan before it can take effect.
                                                                     3. After completing the payments under your plan, your debts are generally discharged except for domestic support
                                                                     obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
                                                                     properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term
                                                                     secured obligations.

                                                                     Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
                                                                     Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are
                                                                     quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

                                                                     Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
                                                                     Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future
                                                                     earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income
                                                                     arises primarily from a family-owned farm or commercial fishing operation.

                                                                     3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
                                                                     A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
                                                                     orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied
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                                                                     by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office
                                                                     of the United States Trustee, the Office of the United States Attorney, and other components and employees of the Department
                                                                     of Justice.

                                                                     WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
                                                                     creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
                                                                     information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the
                                                                     local rules of the court.

                                                                                                      Certificate of [Non-Attorney] Bankruptcy Petition Preparer
                                                                     I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor this notice
                                                                     required by § 342(b) of the Bankruptcy Code.


                                                                     Printed Name and title, if any, of Bankruptcy Petition Preparer                                  Social Security number (If the bankruptcy
                                                                     Address:                                                                                         petition preparer is not an individual, state
                                                                                                                                                                      the Social Security number of the officer,
                                                                                                                                                                      principal, responsible person, or partner of
                                                                                                                                                                      the bankruptcy petition preparer.)
                                                                                                                                                                      (Required by 11 U.S.C. § 110.)
                                                                     X
                                                                     Signature of Bankruptcy Petition Preparer of officer, principal, responsible person, or
                                                                     partner whose Social Security number is provided above.

                                                                                                                            Certificate of the Debtor
                                                                     I (We), the debtor(s), affirm that I (we) have received and read this notice.


                                                                     Cotton, Cynthia D                                                      X /s/ Cynthia D Cotton                                     11/29/2007
                                                                     Printed Name(s) of Debtor(s)                                               Signature of Debtor                                           Date


                                                                     Case No. (if known)                                                    X
                                                                                                                                                Signature of Joint Debtor (if any)                            Date
                                                                                                          Case 07-22153      Doc 1      Filed 12/01/07          Page 11 of 36
                                                                     Official Form 1, Exhibit D (10/06)
                                                                                                                        United States Bankruptcy Court
                                                                                                                              District of Maryland

                                                                     IN RE:                                                                                           Case No.
                                                                     Cotton, Cynthia D                                                                                Chapter 13
                                                                                                                 Debtor(s)

                                                                                               EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE
                                                                                                         WITH CREDIT COUNSELING REQUIREMENT
                                                                     Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
                                                                     do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
                                                                     whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed
                                                                     and you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
                                                                     to stop creditors collection activities.
                                                                     Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D. Check
                                                                     one of the five statements below and attach any documents as directed.

                                                                     ü1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, and I have a certificate from the agency describing the services provided to me. Attach a copy of the
                                                                     certificate and a copy of any debt repayment plan developed through the agency.
                                                                        2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
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                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, but I do not have a certificate from the agency describing the services provided to me. You must file
                                                                     a copy of a certificate from the agency describing the services provided to you and a copy of any debt repayment plan developed through
                                                                     the agency no later than 15 days after your bankruptcy case is filed.
                                                                        3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during the five
                                                                     days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit counseling
                                                                     requirement so I can file my bankruptcy case now. [Must be accompanied by a motion for determination by the court.][Summarize exigent
                                                                     circumstances here.]




                                                                     If the court is satisfied with the reasons stated in your motion, it will send you an order approving your request. You must still
                                                                     obtain the credit counseling briefing within the first 30 days after you file your bankruptcy case and promptly file a certificate from
                                                                     the agency that provided the briefing, together with a copy of any debt management plan developed through the agency. Any
                                                                     extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. A motion for extension must
                                                                     be filed within the 30-day period. Failure to fulfill these requirements may result in dismissal of your case. If the court is not
                                                                     satisfied with your reasons for filing your bankruptcy case without first receiving a credit counseling briefing, your case may be
                                                                     dismissed.
                                                                       4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement.] [Must be accompanied by a
                                                                     motion for determination by the court.]
                                                                            Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to be incapable
                                                                            of realizing and making rational decisions with respect to financial responsibilities.);
                                                                            Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable effort, to
                                                                            participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                                                                            Active military duty in a military combat zone.
                                                                        5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of 11 U.S.C. § 109(h)
                                                                     does not apply in this district.
                                                                     I certify under penalty of perjury that the information provided above is true and correct.


                                                                     Signature of Debtor: /s/ Cynthia D Cotton
                                                                     Date: November 29, 2007
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                                   Certificate Number: 02114-md-cc-002953948



                                  CERTIFICATE OF COUNSELING

I CERTIFY that on 11/29/07, at 12:45 o'clock PM EST, CYNTHIA D COTTON received from Consumer Credit
Counseling Service of Greater Atlanta, Inc., an agency approved pursuant to 11 U.S.C. § 111 to provide credit
counseling in the District of Maryland, an individual [or group] briefing (including a briefing conducted by
telephone or on the Internet) that complied with the provisions of 11 U.S.C. §§ 109(h) and 111. A debt repayment
Plan was not prepared. If a debt repayment plan was prepared, a copy of the debt repayment plan is attached to
this certificate.


This counseling session was conducted       by Internet .




Date: 11-29-2007                                    By          /s/JOJI VARGHESE

                                                    Name        JOJI VARGHESE

                                                    Title       Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy Code are required
to file with the United States Bankruptcy Court a completed certificate of counseling from the nonprofit budget and
credit counseling agency that provided the individual the counseling services and a copy of the debt repayment
plan, if any, developed through the credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).




                                                            1
                                                                                                          Case 07-22153                 Doc 1          Filed 12/01/07              Page 13 of 36
                                                                     Official Form 6 - Summary (10/06)
                                                                                                                                   United States Bankruptcy Court
                                                                                                                                        District of Maryland

                                                                     IN RE:                                                                                                                Case No.
                                                                     Cotton, Cynthia D                                                                                                     Chapter 13
                                                                                                                          Debtor(s)

                                                                                                                                   SUMMARY OF SCHEDULES
                                                                     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
                                                                     provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims from Schedules D, E, and F to
                                                                     determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of Certain Liabilities and Related Data” if they file
                                                                     a case under chapter 7, 11, or 13.

                                                                                                                                 ATTACHED           NUMBER OF
                                                                      NAME OF SCHEDULE
                                                                                                                                  (YES/NO)            SHEETS                 ASSETS                LIABILITIES                 OTHER


                                                                      A - Real Property                                               Yes                          1 $         260,000.00



                                                                      B - Personal Property                                           Yes                          2 $            5,000.00



                                                                      C - Property Claimed as Exempt                                  Yes                          1
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                                                                      D - Creditors Holding Secured Claims                            Yes                          1                           $        145,946.00


                                                                      E - Creditors Holding Unsecured Priority
                                                                                                                                      Yes                          2                           $           6,600.00
                                                                          Claims (Total of Claims on Schedule E)

                                                                      F - Creditors Holding Unsecured
                                                                                                                                      Yes                          3                           $           8,448.30
                                                                          Nonpriority Claims

                                                                      G - Executory Contracts and Unexpired
                                                                                                                                      Yes                          1
                                                                          Leases


                                                                      H - Codebtors                                                   Yes                          1


                                                                      I - Current Income of Individual
                                                                                                                                      Yes                          1                                                     $           2,258.67
                                                                          Debtor(s)

                                                                      J - Current Expenditures of Individual
                                                                                                                                      Yes                          1                                                     $           2,051.55
                                                                          Debtor(s)

                                                                                                                                      TOTAL                      14 $          265,000.00 $             160,994.30
                                                                                                       Case 07-22153             Doc 1   Filed 12/01/07       Page 14 of 36
                                                                     Official Form 6 - Statistical Summary (10/06)
                                                                                                                             United States Bankruptcy Court
                                                                                                                                  District of Maryland

                                                                     IN RE:                                                                                       Case No.
                                                                     Cotton, Cynthia D                                                                            Chapter 13
                                                                                                                     Debtor(s)

                                                                             STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
                                                                     If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C. §
                                                                     101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                        Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
                                                                     information here.

                                                                     This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                     Summarize the following types of liabilities, as reported in the Schedules, and total them.

                                                                      Type of Liability                                                                                        Amount

                                                                      Domestic Support Obligations (from Schedule E)                                                    $         0.00

                                                                      Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E) (whether
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                                                                      disputed or undisputed)                                                                           $      6,600.00

                                                                      Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E)                $         0.00

                                                                      Student Loan Obligations (from Schedule F)                                                        $         0.00

                                                                      Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on
                                                                      Schedule E                                                                                        $         0.00

                                                                      Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)         $         0.00

                                                                                                                                                               TOTAL    $      6,600.00


                                                                      State the following:

                                                                      Average Income (from Schedule I, Line 16)                                                         $      2,258.67

                                                                      Average Expenses (from Schedule J, Line 18)                                                       $      2,051.55

                                                                      Current Monthly Income (from Form 22A Line 12; OR, Form 22B Line 11; OR, Form 22C
                                                                      Line 20 )                                                                                         $       755.67


                                                                      State the following:

                                                                      1. Total from Schedule D, “UNSECURED PORTION, IF ANY” column                                                        $         0.00

                                                                      2. Total from Schedule E, “AMOUNT ENTITLED TO PRIORITY” column.                                   $      6,600.00

                                                                      3. Total from Schedule E, “AMOUNT NOT ENTITLED TO PRIORITY, IF ANY” column                                          $         0.00

                                                                      4. Total from Schedule F                                                                                            $    8,448.30

                                                                      5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                        $    8,448.30
                                                                                                           Case 07-22153                  Doc 1         Filed 12/01/07               Page 15 of 36
                                                                     IN RE Cotton, Cynthia D                                                                                                 Case No.
                                                                                                                                Debtor(s)

                                                                                                                                SCHEDULE A - REAL PROPERTY
                                                                       Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant , community
                                                                     property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s own benefit. If the debtor is
                                                                     married, state whether husband, wife, or both own the property by placing an “H” for Husband, “W” for Wife, “J” for Joint or “C” for Community in the column labeled
                                                                     “HWJC.” If the debtor holds no interest in real property, write “None” under “Description and Location of Property.”

                                                                       Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
                                                                     interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                       If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                                                                                                                   CURRENT VALUE OF
                                                                                                                                                                                             H    DEBTOR'S INTEREST IN
                                                                                                                                                                   NATURE OF DEBTOR'S        W     PROPERTY WITHOUT         AMOUNT OF SECURED
                                                                                             DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                                                                  INTEREST IN PROPERTY       J       DEDUCTING ANY               CLAIM
                                                                                                                                                                                             C     SECURED CLAIM OR
                                                                                                                                                                                                       EXEMPTION

                                                                     1128 Wilson Street-personal residence                                                                                                260,000.00                145,946.00
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                                                                                                                                                                                     TOTAL                260,000.00
                                                                                                                                                                                                 (Report also on Summary of Schedules)
                                                                                                           Case 07-22153                 Doc 1          Filed 12/01/07              Page 16 of 36
                                                                     IN RE Cotton, Cynthia D                                                                                                Case No.
                                                                                                                                Debtor(s)

                                                                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                        Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an “x” in the
                                                                     appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with the case name, case number,
                                                                     and the number of the category. If the debtor is married, state whether husband, wife, or both own the property by placing an “H” for Husband, “W” for Wife, “J” for Joint,
                                                                     or “C” for Community in the column labeled “HWJC.” If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule
                                                                     C - Property Claimed as Exempt.

                                                                       Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                        If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” In providing the
                                                                     information requested in this schedule, do not include the name or address of a minor child. Simply state “a minor child.”

                                                                                                                                                                                                                            CURRENT VALUE OF
                                                                                                                       N                                                                                              H    DEBTOR'S INTEREST IN
                                                                                                                       O                                                                                              W     PROPERTY WITHOUT
                                                                                    TYPE OF PROPERTY                                               DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                       N                                                                                              J      DEDUCTING ANY
                                                                                                                       E                                                                                              C     SECURED CLAIM OR
                                                                                                                                                                                                                               EXEMPTION

                                                                        1. Cash on hand.                               X
                                                                        2. Checking, savings or other financial        X
                                                                           accounts, certificates of deposit, or
                                                                           shares in banks, savings and loan,
                                                                           thrift, building and loan, and
                                                                           homestead associations, or credit
                                                                           unions, brokerage houses, or
                                                                           cooperatives.
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                                                                        3. Security deposits with public utilities,    X
                                                                           telephone companies, landlords, and
                                                                           others.
                                                                        4. Household goods and furnishings,                Household goods                                                                                            4,500.00
                                                                           include audio, video, and computer
                                                                           equipment.
                                                                        5. Books, pictures and other art objects,      X
                                                                           antiques, stamp, coin, record, tape,
                                                                           compact disc, and other collections or
                                                                           collectibles.
                                                                        6. Wearing apparel.                                Clothing                                                                                                      500.00
                                                                        7. Furs and jewelry.                           X
                                                                        8. Firearms and sports, photographic,          X
                                                                           and other hobby equipment.
                                                                        9. Interest in insurance policies. Name        X
                                                                           insurance company of each policy and
                                                                           itemize surrender or refund value of
                                                                           each.
                                                                      10. Annuities. Itemize and name each             X
                                                                          issue.
                                                                      11. Interests in an education IRA as             X
                                                                          defined in 26 U.S.C. § 530(b)(1) or
                                                                          under a qualified State tuition plan as
                                                                          defined in 26 U.S.C. § 529(b)(1).
                                                                          Give particulars. (File separately the
                                                                          record(s) of any such interest(3). 11
                                                                          U.S.C. § 521(c); Rule 1007(b)).
                                                                      12. Interests in IRA, ERISA, Keogh, or           X
                                                                          other pension or profit sharing plans.
                                                                          Itemize.
                                                                      13. Stock and interests in incorporated          X
                                                                          and unincorporated businesses.
                                                                          Itemize.
                                                                      14. Interests in partnerships or joint           X
                                                                          ventures. Itemize.
                                                                      15. Government and corporate bonds and           X
                                                                          other negotiable and non-negotiable
                                                                          instruments.
                                                                      16. Accounts receivable.                         X
                                                                                                          Case 07-22153            Doc 1   Filed 12/01/07           Page 17 of 36
                                                                     IN RE Cotton, Cynthia D                                                                                  Case No.
                                                                                                                           Debtor(s)

                                                                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                (Continuation Sheet)

                                                                                                                                                                                                         CURRENT VALUE OF
                                                                                                                     N                                                                             H    DEBTOR'S INTEREST IN
                                                                                                                     O                                                                             W     PROPERTY WITHOUT
                                                                                   TYPE OF PROPERTY                                    DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                     N                                                                             J      DEDUCTING ANY
                                                                                                                     E                                                                             C     SECURED CLAIM OR
                                                                                                                                                                                                            EXEMPTION

                                                                      17. Alimony, maintenance, support, and         X
                                                                          property settlements in which the
                                                                          debtor is or may be entitled. Give
                                                                          particulars.
                                                                      18. Other liquidated debts owing debtor        X
                                                                          including tax refunds. Give
                                                                          particulars.
                                                                      19. Equitable or future interest, life         X
                                                                          estates, and rights or powers
                                                                          exercisable for the benefit of the
                                                                          debtor other than those listed in
                                                                          Schedule of Real Property.
                                                                      20. Contingent and noncontingent               X
                                                                          interests in estate of a decedent, death
                                                                          benefit plan, life insurance policy, or
                                                                          trust.
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                                                                      21. Other contingent and unliquidated          X
                                                                          claims of every nature, including tax
                                                                          refunds, counterclaims of the debtor,
                                                                          and rights to setoff claims. Give
                                                                          estimated value of each.
                                                                      22. Patents, copyrights, and other             X
                                                                          intellectual property. Give particulars.
                                                                      23. Licenses, franchises, and other            X
                                                                          general intangibles. Give particulars.
                                                                      24. Customer lists or other compilations       X
                                                                          containing personally identifiable
                                                                          information (as defined in 11 U.S.C. §
                                                                          101(41A)) in customer lists or similar
                                                                          compilations provided to the debtor
                                                                          by individuals in connection with
                                                                          obtaining a product or service from
                                                                          the debtor primarily for personal,
                                                                          family, or household purposes.
                                                                      25. Automobiles, trucks, trailers, and         X
                                                                          other vehicles and accessories.
                                                                      26. Boats, motors, and accessories.            X
                                                                      27. Aircraft and accessories.                  X
                                                                      28. Office equipment, furnishings, and         X
                                                                          supplies.
                                                                      29. Machinery, fixtures, equipment, and        X
                                                                          supplies used in business.
                                                                      30. Inventory.                                 X
                                                                      31. Animals.                                   X
                                                                      32. Crops - growing or harvested. Give         X
                                                                          particulars.
                                                                      33. Farming equipment and implements.          X
                                                                      34. Farm supplies, chemicals, and feed.        X
                                                                      35. Other personal property of any kind        X
                                                                          not already listed. Itemize.




                                                                                                                                                                                            TOTAL                  5,000.00
                                                                                                                                                                        (Include amounts from any continuation sheets attached.
                                                                              0 continuation sheets attached                                                                       Report total also on Summary of Schedules.)
                                                                                                          Case 07-22153                Doc 1         Filed 12/01/07            Page 18 of 36
                                                                     Official Form 6C (04/07)
                                                                     IN RE Cotton, Cynthia D                                                                                          Case No.
                                                                                                                               Debtor(s)

                                                                                                                 SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                     Debtor elects the exemptions to which debtor is entitled under:                       Check if debtor claims a homestead exemption that exceeds $136,875.
                                                                     (Check one box)
                                                                           11 U.S.C. § 522(b)(2)
                                                                       ü11 U.S.C. § 522(b)(3)
                                                                                                                                                                                                                     CURRENT VALUE
                                                                                                                                                                                            VALUE OF CLAIMED          OF PROPERTY
                                                                                       DESCRIPTION OF PROPERTY                             SPECIFY LAW PROVIDING EACH EXEMPTION
                                                                                                                                                                                               EXEMPTION           WITHOUT DEDUCTING
                                                                                                                                                                                                                      EXEMPTIONS

                                                                     SCHEDULE A - REAL PROPERTY
                                                                     1128 Wilson Street-personal residence                        ACM, C & JP § 11-504(b)(5)                                          2,000.00            260,000.00
                                                                                                                                  ACM, C & JP § 11-504(f)                                             5,000.00
                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                     Household goods                                              ACM, C & JP § 11-504(b)(4)                                          1,000.00               4,500.00
                                                                                                                                  ACM, C & JP § 11-504(b)(5)                                          3,500.00
                                                                     Clothing                                                     ACM, C & JP § 11-504(b)(5)                                            500.00                   500.00
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                                                                     Official Form 6D (10/06)
                                                                                                             Case 07-22153                                          Doc 1       Filed 12/01/07            Page 19 of 36
                                                                     IN RE Cotton, Cynthia D                                                                                                                     Case No.
                                                                                                                                  Debtor(s)

                                                                                                           SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                     State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of the date
                                                                     of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor
                                                                     chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security
                                                                     interests.

                                                                     List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, indicate that by stating “a minor child” and do not disclose the child’s name. See
                                                                     11 U.S.C. § 112. If “a minor child” is stated, also include the name, address, and legal relationship to the minor child of a person described in Fed. R. Bankr. P. 1007(m).
                                                                     If all secured creditors will not fit on this page, use the continuation sheet provided.

                                                                     If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate schedule
                                                                     of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable on each
                                                                     claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

                                                                     If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

                                                                     Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes labeled “Total(s)” on the last sheet of
                                                                     the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value of Collateral” also on the Summary of Schedules and, if the
                                                                     debtor is an individual with primarily consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities
                                                                     and Related Data.

                                                                         Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
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                                                                                                                                            HUSBAND, WIFE, JOINT,
                                                                                                                                              OR COMMUNITY




                                                                                                                                                                                                                                  UNLIQUIDATED
                                                                                                                                                                                                                     CONTINGENT
                                                                                                                                                                                                                                                              AMOUNT OF
                                                                                                                                 CODEBTOR




                                                                                                                                                                                                                                                 DISPUTED
                                                                              CREDITOR'S NAME AND MAILING ADDRESS                                                              DATE CLAIM WAS INCURRED,                                                     CLAIM WITHOUT
                                                                                                                                                                                                                                                                              UNSECURED
                                                                            INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                    NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                            DEDUCTING
                                                                                                                                                                                                                                                                            PORTION, IF ANY
                                                                                       (See Instructions Above.)                                                                PROPERTY SUBJECT TO LIEN                                                       VALUE OF
                                                                                                                                                                                                                                                             COLLATERAL




                                                                     ACCOUNT NO. 7694                                                                               Mortgage account opened 6/07                                                             145,946.00
                                                                     Indymac Bank
                                                                     1 National City Pkwy
                                                                     Kalamazoo, MI 49009

                                                                                                                                                                    VALUE $ 260,000.00

                                                                     ACCOUNT NO.




                                                                                                                                                                    VALUE $

                                                                     ACCOUNT NO.




                                                                                                                                                                    VALUE $

                                                                     ACCOUNT NO.




                                                                                                                                                                    VALUE $
                                                                                                                                                                                                                       Subtotal
                                                                            0 continuation sheets attached                                                                                                 (Total of this page) $ 145,946.00 $
                                                                                                                                                                                                                      Total
                                                                                                                                                        (Use only on last page of the completed Schedule D. Report also on
                                                                                                                                                            the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                          Summary of Certain Liabilities and Related Data.) $ 145,946.00 $
                                                                     Official Form 6E (04/07)
                                                                                                             Case 07-22153                   Doc 1          Filed 12/01/07                Page 20 of 36
                                                                     IN RE Cotton, Cynthia D                                                                                                      Case No.
                                                                                                                                   Debtor(s)

                                                                                                SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                     A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled to priority
                                                                     should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the account number,
                                                                     if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate continuation sheet for
                                                                     each type of priority and label each with the type of priority.

                                                                     The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so.
                                                                     If a minor child is a creditor, indicate that by stating “a minor child” and do not disclose the child’s name. See 11 U.S.C. § 112. If “a minor child” is stated, also include the
                                                                     name, address, and legal relationship to the minor child of a person described in Fed. R. Bankr. P. 1007(m).

                                                                     If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate schedule
                                                                     of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable on each
                                                                     claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the column labeled
                                                                     "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You
                                                                     may need to place an "X" in more than one of these three columns.)

                                                                     Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled “Total”
                                                                     on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                     Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority listed on
                                                                     this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts who file a case under chapter 7
                                                                     or 13 report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                     Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all amounts not entitled to priority
                                                                     listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts who file a case under
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                                                                     chapter 7 report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
                                                                          Domestic Support Obligations
                                                                          Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
                                                                          responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11
                                                                          U.S.C. § 507(a)(1).
                                                                          Extensions of credit in an involuntary case
                                                                          Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                          appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).
                                                                          Wages, salaries, and commissions
                                                                          Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                          independent sales representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).
                                                                          Contributions to employee benefit plans
                                                                          Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
                                                                          Certain farmers and fishermen
                                                                          Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).
                                                                          Deposits by individuals
                                                                          Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
                                                                          were not delivered or provided. 11 U.S.C. § 507(a)(7).

                                                                     ü Taxes  and Certain Other Debts Owed to Governmental Units
                                                                       Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).
                                                                          Commitments to Maintain the Capital of an Insured Depository Institution
                                                                          Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
                                                                          of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).
                                                                          Claims for Death or Personal Injury While Debtor Was Intoxicated
                                                                          Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol,
                                                                          a drug, or another substance. 11 U.S.C. § 507(a)(10).
                                                                          * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                            1 continuation sheets attached
                                                                     Official Form 6E (04/07) - Cont.
                                                                                                          Case 07-22153                                         Doc 1             Filed 12/01/07                                          Page 21 of 36
                                                                     IN RE Cotton, Cynthia D                                                                                                                                                               Case No.
                                                                                                                                                    Debtor(s)

                                                                                              SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                   (Continuation Sheet)

                                                                                                             Taxes and Other Certain Debts Owed to Governmental Units
                                                                                                                                                               (Type of Priority for Claims Listed on This Sheet)




                                                                                                                                   HUSBAND, WIFE, JOINT,
                                                                                                                                      OR COMMUNITY




                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                                                                                                                                          AMOUNT




                                                                                                                                                                                                                    CONTINGENT
                                                                                                                        CODEBTOR




                                                                                                                                                                                                                                                DISPUTED
                                                                                                                                                                                                                                                                            AMOUNT           NOT
                                                                           CREDITOR'S NAME, MAILING ADDRESS                                                                                                                                                 AMOUNT
                                                                                                                                                                 DATE CLAIM WAS INCURRED                                                                                    ENTITLED      ENTITLED
                                                                        INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                                                                                                                OF
                                                                                                                                                               AND CONSIDERATION FOR CLAIM                                                                                     TO             TO
                                                                                   (See Instructions above.)                                                                                                                                                 CLAIM
                                                                                                                                                                                                                                                                            PRIORITY      PRIORITY,
                                                                                                                                                                                                                                                                                           IF ANY




                                                                     ACCOUNT NO.                                                                           06 Income Taxes
                                                                     IRS Special Procedures
                                                                     31 Hopkins Plaza #1150
                                                                     Baltimore, MD 21201

                                                                                                                                                                                                                                                             6,600.00        6,600.00
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                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     Sheet no.       1 of        1 continuation sheets attached to                                                                           Subtotal
                                                                     Schedule of Creditors Holding Unsecured Priority Claims                                                                    (Totals of this page) $                                      6,600.00 $      6,600.00 $
                                                                                                                                                                           Total
                                                                                    (Use only on last page of the completed Schedule E. Report also on the Summary of Schedules.) $                                                                          6,600.00
                                                                                                                                                                                 Total
                                                                                                                   (Use only on last page of the completed Schedule E. If applicable,
                                                                                                      report also on the Statistical Summary of Certain Liabilities and Related Data.)                                                                                  $    6,600.00 $
                                                                     Official Form 6F (10/06)
                                                                                                             Case 07-22153                        Doc 1                        Filed 12/01/07            Page 22 of 36
                                                                     IN RE Cotton, Cynthia D                                                                                                                     Case No.
                                                                                                                                 Debtor(s)

                                                                                           SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                     State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the debtor
                                                                     or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
                                                                     the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, indicate that by stating “a minor child” and do not disclose the child’s name.
                                                                     See 11 U.S.C. § 112. If “a minor child” is stated, also include the name, address, and legal relationship to the minor child of a person described in Fed. R. Bankr. P. 1007(m).
                                                                     Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

                                                                     If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate schedule
                                                                     of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable on each
                                                                     claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

                                                                     If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

                                                                     Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of Schedules
                                                                     and, if the debtor is an individual with primarily consumer debts filing a case under chapter 7, report this total also on the Statistical Summary of Certain Liabilities and
                                                                     Related Data.

                                                                         Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.
                                                                                                                                                  HUSBAND, WIFE, JOINT,
                                                                                                                                                    OR COMMUNITY




                                                                                                                                                                                                                                                       UNLIQUIDATED
                                                                                                                                                                                                                                          CONTINGENT
                                                                                                                                       CODEBTOR




                                                                                                                                                                                                                                                                      DISPUTED
                                                                                   CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                               INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
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                                                                                          (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 0472                                                                                     Open account opened 10/05
                                                                     Amer Col Ent
                                                                     6094d Franconia Rd
                                                                     Alexandria, VA 22310

                                                                                                                                                                                                                                                                                    253.00
                                                                     ACCOUNT NO. 1893                                                                                     Open account opened 6/04
                                                                     Amer Col Ent
                                                                     6094d Franconia Rd
                                                                     Alexandria, VA 22310

                                                                                                                                                                                                                                                                                     50.00
                                                                     ACCOUNT NO. 0290                                                                                     Open account opened 1/07
                                                                     American Collections E
                                                                     6094 Franconia Rd Ste D
                                                                     Alexandria, VA 22310

                                                                                                                                                                                                                                                                                    680.00
                                                                     ACCOUNT NO. 0256                                                                                     Open account opened 8/07
                                                                     American Collections E
                                                                     6094 Franconia Rd Ste D
                                                                     Alexandria, VA 22310

                                                                                                                                                                                                                                                                                    676.00
                                                                                                                                                                                                                                          Subtotal
                                                                            2 continuation sheets attached                                                                                                                    (Total of this page) $                              1,659.00
                                                                                                                                                                                                                                             Total
                                                                                                                                                                                (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                    the Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                                                 Summary of Certain Liabilities and Related Data.) $
                                                                     Official Form 6F (10/06) - Cont.
                                                                                                         Case 07-22153                          Doc 1                        Filed 12/01/07            Page 23 of 36
                                                                     IN RE Cotton, Cynthia D                                                                                                                   Case No.
                                                                                                                              Debtor(s)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                  (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                     UNLIQUIDATED
                                                                                                                                                                                                                                        CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                    DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                   DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                              CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                     SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 3155                                                                                   Open account opened 3/07
                                                                     Diversified
                                                                     P O Box 551268
                                                                     Jacksonville, FL 32255

                                                                                                                                                                                                                                                                                  792.00
                                                                     ACCOUNT NO. 3823                                                                                   Open account opened 8/07
                                                                     Equidata
                                                                     724 Thimble Shoals Blvd
                                                                     Newport News, VA 23606
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                                                                                                                                                                                                                                                                                  660.00
                                                                     ACCOUNT NO. 8547                                                                                   Open account opened 6/07
                                                                     Equidata
                                                                     724 Thimble Shoals Blvd
                                                                     Newport News, VA 23606

                                                                                                                                                                                                                                                                                  369.00
                                                                     ACCOUNT NO. 7217                                                                                   Open account opened 9/07
                                                                     Equidata
                                                                     724 Thimble Shoals Blvd
                                                                     Newport News, VA 23606

                                                                                                                                                                                                                                                                                  263.00
                                                                     ACCOUNT NO. 4354                                                                                   Open account opened 2/07
                                                                     Equidata
                                                                     724 Thimble Shoals Blvd
                                                                     Newport News, VA 23606

                                                                                                                                                                                                                                                                                  251.00
                                                                     ACCOUNT NO. 5691                                                                                   Open account opened 11/06
                                                                     Equidata
                                                                     724 Thimble Shoals Blvd
                                                                     Newport News, VA 23606

                                                                                                                                                                                                                                                                                  117.00
                                                                     ACCOUNT NO. 2003
                                                                     Mercy Medical Center
                                                                     C/O Neil Bloom
                                                                     1220A E. Joppa Rd #223
                                                                     Baltimore, MD 21286
                                                                                                                                                                                                                                                                                  958.97
                                                                     Sheet no.       1 of        2 continuation sheets attached to                                                                                                      Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                             (Total of this page) $                              3,410.97
                                                                                                                                                                                                                                           Total
                                                                                                                                                                              (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                  the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                               Summary of Certain Liabilities and Related Data.) $
                                                                     Official Form 6F (10/06) - Cont.
                                                                                                         Case 07-22153                          Doc 1                        Filed 12/01/07            Page 24 of 36
                                                                     IN RE Cotton, Cynthia D                                                                                                                   Case No.
                                                                                                                              Debtor(s)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                  (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                     UNLIQUIDATED
                                                                                                                                                                                                                                        CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                    DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                   DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                              CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                     SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 7336                                                                                   Open account opened 7/07
                                                                     Sec Check
                                                                     2612 C Jackson Ave
                                                                     Oxford, MS 38655

                                                                                                                                                                                                                                                                                  235.00
                                                                     ACCOUNT NO. 2007
                                                                     UMMS
                                                                     C/O Neil Bloom
                                                                     1220A E Joppa Rd #223
                                                                     Baltimore, MD 21286
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                                                                                                                                                                                                                                                                                3,143.33
                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     Sheet no.       2 of        2 continuation sheets attached to                                                                                                      Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                             (Total of this page) $                              3,378.33
                                                                                                                                                                                                                                           Total
                                                                                                                                                                              (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                  the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                               Summary of Certain Liabilities and Related Data.) $                              8,448.30
                                                                                                            Case 07-22153                   Doc 1          Filed 12/01/07                Page 25 of 36
                                                                     IN RE Cotton, Cynthia D                                                                                                     Case No.
                                                                                                                                  Debtor(s)

                                                                                                  SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                     Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature of debtor’s interest in contract,
                                                                     i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing addresses of all other parties to each lease or
                                                                     contract described. If a minor child is a party to one of the leases or contracts, indicate that by stating “a minor child” and do not disclose the child’s name. See 11 U.S.C.
                                                                     § 112; Fed.R. Bankr. P. 1007(m).

                                                                     üCheck this box if debtor has no executory contracts or unexpired leases.
                                                                                                                                                                       DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S INTEREST.
                                                                                        NAME AND MAILING ADDRESS, INCLUDING ZIP CODE
                                                                                                                                                                           STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL PROPERTY.
                                                                                           OF OTHER PARTIES TO LEASE OR CONTRACT
                                                                                                                                                                             STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.
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                                                                                                          Case 07-22153                  Doc 1         Filed 12/01/07               Page 26 of 36
                                                                     IN RE Cotton, Cynthia D                                                                                               Case No.
                                                                                                                               Debtor(s)

                                                                                                                                   SCHEDULE H - CODEBTORS
                                                                     Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by debtor in the schedules of
                                                                     creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
                                                                     California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight year period immediately preceding the commencement
                                                                     of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state, commonwealth, or
                                                                     territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or
                                                                     a creditor, indicate that by stating “a minor child” and do not disclose the child’s name. See 11 U.S.C. § 112; Fed. Bankr. P. 1007(m).

                                                                     üCheck this box if debtor has no codebtors.
                                                                                               NAME AND ADDRESS OF CODEBTOR                                                           NAME AND ADDRESS OF CREDITOR
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                                                                     Official Form 6I (10/06)
                                                                                                          Case 07-22153                 Doc 1         Filed 12/01/07              Page 27 of 36
                                                                     IN RE Cotton, Cynthia D                                                                                              Case No.
                                                                                                                               Debtor(s)

                                                                                                     SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                     The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is filed, unless the spouses
                                                                     are separated and a joint petition is not filed. Do not state the name of any minor child.

                                                                      Debtor's Marital Status                                                            DEPENDENTS OF DEBTOR AND SPOUSE
                                                                      Single                                      RELATIONSHIP(S):                                                                                             AGE(S):




                                                                      EMPLOYMENT:                                            DEBTOR                                                                      SPOUSE
                                                                      Occupation                Processor
                                                                      Name of Employer          Forman Mills
                                                                      How long employed         1 months
                                                                      Address of Employer



                                                                     INCOME: (Estimate of average or projected monthly income at time case filed)                                                           DEBTOR                            SPOUSE
                                                                     1. Current monthly gross wages, salary, and commissions (prorate if not paid monthly)                                    $                   910.00 $
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                                                                     2. Estimated monthly overtime                                                                                            $                               $
                                                                     3. SUBTOTAL                                                                                                              $                   910.00 $
                                                                     4. LESS PAYROLL DEDUCTIONS
                                                                       a. Payroll taxes and Social Security                                                                                   $                   108.33 $
                                                                       b. Insurance                                                                                                           $                               $
                                                                       c. Union dues                                                                                                          $                               $
                                                                       d. Other (specify)                                                                                                     $                               $
                                                                                                                                                                                              $                               $
                                                                     5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                        $                   108.33 $
                                                                     6. TOTAL NET MONTHLY TAKE HOME PAY                                                                                       $                   801.67 $

                                                                     7. Regular income from operation of business or profession or farm (attach detailed statement)                           $                               $
                                                                     8. Income from real property                                                                                             $                               $
                                                                     9. Interest and dividends                                                                                                $                               $
                                                                     10. Alimony, maintenance or support payments payable to the debtor for the debtor’s use or
                                                                     that of dependents listed above                                                                                          $                               $
                                                                     11. Social Security or other government assistance
                                                                       (Specify) Food Stamps                                                                                                  $                   257.00 $
                                                                                                                                                                                              $                               $
                                                                     12. Pension or retirement income                                                                                         $                               $
                                                                     13. Other monthly income
                                                                       (Specify) Day Care From Daughter                                                                                       $                   600.00 $
                                                                                    Rent From Boarders                                                                                        $                   600.00 $
                                                                                                                                                                                              $                               $

                                                                     14. SUBTOTAL OF LINES 7 THROUGH 13                                                                                       $               1,457.00 $
                                                                     15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                                         $               2,258.67 $

                                                                     16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15;
                                                                     if there is only one debtor repeat total reported on line 15)                                                                            $                2,258.67
                                                                                                                                                                                              (Report also on Summary of Schedules and, if applicable, on
                                                                                                                                                                                              Statistical Summary of Certain Liabilities and Related Data)

                                                                     17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
                                                                     Debtor plans to start daycare business in Jan 08.
                                                                     Official Form 6J (10/06)
                                                                                                          Case 07-22153                 Doc 1          Filed 12/01/07              Page 28 of 36
                                                                     IN RE Cotton, Cynthia D                                                                                               Case No.
                                                                                                                               Debtor(s)

                                                                                                SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case filed. Prorate any payments made biweekly,
                                                                     quarterly, semi-annually, or annually to show monthly rate.

                                                                        Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of
                                                                     expenditures labeled “Spouse.”

                                                                     1. Rent or home mortgage payment (include lot rented for mobile home)                                                                              $            1,376.45
                                                                         a. Are real estate taxes included? Yes      No ü
                                                                         b. Is property insurance included? Yes ü No
                                                                     2. Utilities:
                                                                         a. Electricity and heating fuel                                                                                                                $               75.00
                                                                         b. Water and sewer                                                                                                                             $               20.00
                                                                         c. Telephone                                                                                                                                   $              100.00
                                                                         d. Other                                                                                                                                       $
                                                                                                                                                                                                                        $
                                                                     3. Home maintenance (repairs and upkeep)                                                                                                           $
                                                                     4. Food                                                                                                                                            $              150.00
                                                                     5. Clothing                                                                                                                                        $               20.00
                                                                     6. Laundry and dry cleaning                                                                                                                        $                0.10
                                                                     7. Medical and dental expenses                                                                                                                     $
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                                                                     8. Transportation (not including car payments)                                                                                                     $                75.00
                                                                     9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                                $                75.00
                                                                     10. Charitable contributions                                                                                                                       $
                                                                     11. Insurance (not deducted from wages or included in home mortgage payments)
                                                                         a. Homeowner’s or renter’s                                                                                                                     $
                                                                         b. Life                                                                                                                                        $
                                                                         c. Health                                                                                                                                      $
                                                                         d. Auto                                                                                                                                        $
                                                                         e. Other                                                                                                                                       $
                                                                                                                                                                                                                        $
                                                                     12. Taxes (not deducted from wages or included in home mortgage payments)
                                                                         (Specify) Property Taxes                                                                                                                       $              160.00
                                                                                                                                                                                                                        $
                                                                     13. Installment payments: (in chapter 11, 12 and 13 cases, do not list payments to be included in the plan)
                                                                         a. Auto                                                                                                                                        $
                                                                         b. Other                                                                                                                                       $
                                                                                                                                                                                                                        $
                                                                     14. Alimony, maintenance, and support paid to others                                                                                               $
                                                                     15. Payments for support of additional dependents not living at your home                                                                          $
                                                                     16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                                   $
                                                                     17. Other                                                                                                                                          $
                                                                                                                                                                                                                        $
                                                                                                                                                                                                                        $

                                                                     18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and, if
                                                                     applicable, on the Statistical Summary of Certain Liabilities and Related Data.                                                                    $            2,051.55


                                                                     19. Describe any increase or decrease in expenditures anticipated to occur within the year following the filing of this document:
                                                                     None




                                                                     20. STATEMENT OF MONTHLY NET INCOME
                                                                         a. Average monthly income from Line 15 of Schedule I                                                                                           $            2,258.67
                                                                         b. Average monthly expenses from Line 18 above                                                                                                 $            2,051.55
                                                                         c. Monthly net income (a. minus b.)                                                                                                            $              207.12
                                                                                                         Case 07-22153
                                                                     Official Form 6 - Declaration (10/06)
                                                                                                                                       Doc 1        Filed 12/01/07          Page 29 of 36
                                                                     IN RE Cotton, Cynthia D                                                                                      Case No.
                                                                                                                              Debtor(s)

                                                                                                             DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                                                                    DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of       16 sheets (total shown on
                                                                     summary page plus 2), and that they are true and correct to the best of my knowledge, information, and belief.

                                                                     Date: November 29, 2007                            Signature: /s/ Cynthia D Cotton
                                                                                                                                                                                                                                                Debtor
                                                                                                                                      Cynthia D Cotton

                                                                     Date:                                              Signature:
                                                                                                                                                                                                                                  (Joint Debtor, if any)
                                                                                                                                                                                        [If joint case, both spouses must sign.]

                                                                                 DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                     I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                     compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
                                                                     and 342 (b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
                                                                     bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting
                                                                     any fee from the debtor, as required by that section.
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                                                                     Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                    Social Security No. (Required by 11 U.S.C. § 110.)
                                                                     If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal,
                                                                     responsible person, or partner who signs the document.


                                                                     Address




                                                                     Signature of Bankruptcy Petition Preparer                                                                   Date

                                                                     Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer
                                                                     is not an individual:


                                                                     If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

                                                                     A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                     imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


                                                                                   DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

                                                                     I, the                                                                     (the president or other officer or an authorized agent of the corporation or a
                                                                     member or an authorized agent of the partnership) of the
                                                                     (corporation or partnership) named as debtor in this case, declare under penalty of perjury that I have read the foregoing summary and
                                                                     schedules, consisting of          sheets (total shown on summary page plus 1), and that they are true and correct to the best of my
                                                                     knowledge, information, and belief.



                                                                     Date:                                              Signature:


                                                                                                                                                                                          (Print or type name of individual signing on behalf of debtor)

                                                                                   [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                       Penalty for making a false statement or concealing property. Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
                                                                                                        Case 07-22153               Doc 1        Filed 12/01/07            Page 30 of 36
                                                                     Official Form 7 (04/07)
                                                                                                                             United States Bankruptcy Court
                                                                                                                                   District of Maryland

                                                                     IN RE:                                                                                                       Case No.
                                                                     Cotton, Cynthia D                                                                                            Chapter 13
                                                                                                                      Debtor(s)

                                                                                                                       STATEMENT OF FINANCIAL AFFAIRS
                                                                        This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both spouses
                                                                     is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint petition
                                                                     is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family
                                                                     farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the individual's
                                                                     personal affairs. Do not include the name or address of a minor child in this statement. Indicate payments, transfers and the like to minor children by
                                                                     stating “a minor child.” See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

                                                                       Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions 19 -
                                                                     25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to any question,
                                                                     use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.

                                                                                                                                            DEFINITIONS

                                                                       "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in business"
                                                                     for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of the following:
                                                                     an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than a limited
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                                                                     partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this
                                                                     form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

                                                                       "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
                                                                     which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or equity securities of
                                                                     a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.


                                                                     1. Income from employment or operation of business
                                                                      None   State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
                                                                             including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
                                                                             case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
                                                                             maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
                                                                             beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                             under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed.)
                                                                                 AMOUNT SOURCE
                                                                                 26,150.00 2006-daycare

                                                                     2. Income other than from employment or operation of business
                                                                      None   State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor’s business during the
                                                                      ü      two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
                                                                             separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
                                                                             the spouses are separated and a joint petition is not filed.)

                                                                     3. Payments to creditors
                                                                     Complete a. or b., as appropriate, and c.
                                                                      None   a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
                                                                      ü      debts to any creditor made within 90 days immediately preceding the commencement of this case if the aggregate value of all property that
                                                                             constitutes or is affected by such transfer is not less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account
                                                                             of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor
                                                                             counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                      None   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately
                                                                      ü      preceding the commencement of the case if the aggregate value of all property that constitutes or is affected by such transfer is not less than $5,475.
                                                                             (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                                                        Case 07-22153                Doc 1        Filed 12/01/07            Page 31 of 36

                                                                      None   c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
                                                                      ü      who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     4. Suits and administrative proceedings, executions, garnishments and attachments
                                                                      None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
                                                                             bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
                                                                             not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                     CAPTION OF SUIT                                                                       COURT OR AGENCY                            STATUS OR
                                                                     AND CASE NUMBER                            NATURE OF PROCEEDING                       AND LOCATION                               DISPOSITION
                                                                     UMMS v Cotton                              Collection                                 Balt City Dist Ct                          Pending
                                                                      None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
                                                                      ü      the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either
                                                                             or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     5. Repossessions, foreclosures and returns
                                                                      None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to
                                                                      ü      the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                                                                             include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed.)

                                                                     6. Assignments and receiverships
                                                                      None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
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                                                                      ü      (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed,
                                                                             unless the spouses are separated and joint petition is not filed.)
                                                                      None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
                                                                      ü      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
                                                                             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     7. Gifts
                                                                      None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
                                                                      ü      gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
                                                                             per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     8. Losses
                                                                      None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
                                                                      ü      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     9. Payments related to debt counseling or bankruptcy
                                                                      None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
                                                                             consolidation, relief under bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
                                                                             of this case.
                                                                                                                                       DATE OF PAYMENT, NAME OF                      AMOUNT OF MONEY OR DESCRIPTION
                                                                     NAME AND ADDRESS OF PAYEE                                         PAYOR IF OTHER THAN DEBTOR                            AND VALUE OF PROPERTY
                                                                     James R. Logan P.A.                                               11/29/07                                                              580.00
                                                                     2539 N. Charles Street
                                                                     Baltimore, MD 21218

                                                                     10. Other transfers
                                                                      None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either
                                                                      ü      absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
                                                                             chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)

                                                                      None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar
                                                                      ü      device of which the debtor is a beneficiary.
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                                                                     11. Closed financial accounts
                                                                      None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
                                                                      ü      transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
                                                                             certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
                                                                             brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                                                                             accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)

                                                                     12. Safe deposit boxes
                                                                      None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
                                                                      ü      preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
                                                                             both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     13. Setoffs
                                                                      None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
                                                                      ü      case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     14. Property held for another person
                                                                      None   List all property owned by another person that the debtor holds or controls.
                                                                      ü
                                                                     15. Prior address of debtor
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                                                                      None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during
                                                                      ü      that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.

                                                                     16. Spouses and Former Spouses
                                                                      None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
                                                                      ü      Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
                                                                             identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state.

                                                                     17. Environmental Information
                                                                     For the purpose of this question, the following definitions apply:
                                                                     “Environmental Law” means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
                                                                     wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating
                                                                     the cleanup of these substances, wastes or material.
                                                                     “Site” means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
                                                                     debtor, including, but not limited to, disposal sites.
                                                                     “Hazardous Material” means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant
                                                                     or similar term under an Environmental Law.

                                                                      None   a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
                                                                      ü      potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
                                                                             Environmental Law.
                                                                      None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate
                                                                      ü      the governmental unit to which the notice was sent and the date of the notice.

                                                                      None   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor
                                                                      ü      is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.
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                                                                     18. Nature, location and name of business
                                                                      None   a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                      ü      of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole
                                                                             proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
                                                                             commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
                                                                             preceding the commencement of this case.
                                                                             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately
                                                                             preceding the commencement of this case.
                                                                             If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately
                                                                             preceding the commencement of this case.

                                                                      None   b. Identify any business listed in response to subdivision a., above, that is “single asset real estate” as defined in 11 U.S.C. § 101.
                                                                      ü
                                                                     [If completed by an individual or individual and spouse]

                                                                     I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
                                                                     thereto and that they are true and correct.
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                                                                     Date: November 29, 2007                          Signature /s/ Cynthia D Cotton
                                                                                                                      of Debtor                                                                               Cynthia D Cotton

                                                                     Date:                                            Signature
                                                                                                                      of Joint Debtor
                                                                                                                      (if any)

                                                                                                                                        0 continuation pages attached


                                                                      Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. § 152 and 3571.
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                                                                                                                   United States Bankruptcy Court
                                                                                                                         District of Maryland

                                                                     IN RE:                                                                                  Case No.
                                                                     Cotton, Cynthia D                                                                       Chapter 13
                                                                                                            Debtor(s)

                                                                                                            VERIFICATION OF CREDITOR MATRIX
                                                                     The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.



                                                                     Date: November 29, 2007                Signature: /s/ Cynthia D Cotton
                                                                                                                         Cynthia D Cotton                                                        Debtor



                                                                     Date:                                  Signature:
                                                                                                                                                                                     Joint Debtor, if any
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 Amer Col Ent
 6094d Franconia Rd
 Alexandria, VA 22310


 American Collections E
 6094 Franconia Rd Ste D
 Alexandria, VA 22310


 Diversified
 P O Box 551268
 Jacksonville, FL       32255


 Equidata
 724 Thimble Shoals Blvd
 Newport News, VA 23606


 Indymac Bank
 1 National City Pkwy
 Kalamazoo, MI 49009


 IRS Special Procedures
 31 Hopkins Plaza #1150
 Baltimore, MD 21201


 Mercy Medical Center
 C/O Neil Bloom
 1220A E. Joppa Rd #223
 Baltimore, MD 21286


 Sec Check
 2612 C Jackson Ave
 Oxford, MS 38655
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 UMMS
 C/O Neil Bloom
 1220A E Joppa Rd #223
 Baltimore, MD 21286
